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            EXHIBIT 2
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CITIZENS BANK, N.A., successor by               :
merger to Investors Bank,                       :     COURT OF COMMON PLEAS
                                                :     OF PHILADELPHIA COUNTY
                      Plaintiff,                :
                                                :     September Term, 2023
               v.                               :
                                                :     No. 01940
USRE 257 LLC,                                   :
45 City Avenue                                  :
Unit 3838                                       :
Bala Cynwyd, PA 19004,                          :
                                                :
                    Defendant.                  :
                                                :

                                    RULE TO SHOW CAUSE

         AND NOW, this             day of                 , 2023, upon consideration of the attached

Emergency Petition of Plaintiff, Citizens Bank, N.A., successor by merger to USRE 257, LLC,

for the Appointment of Receiver (the “Petition”), it is hereby ORDERED that:

         1.    A Rule is issued upon the Defendant to show cause why the relief requested

should not be granted;

         2.    On or before                         , 2023, Defendant may file a response to the

Motion attached;

         3.    In the event of a response, the matter shall be decided under Pa.R.C.P. No. 206.7.

         4.    Notice of the entry of this order shall be provided to all parties by the moving

party.

                                             BY THE COURT:



                                                                               J.




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 CITIZENS BANK, N.A., successor by              :
 merger to Investors Bank,                      : COURT OF COMMON PLEAS
                                                : OF PHILADELPHIA COUNTY
                       Plaintiff,               :
                                                : No.
                 v.                             :
                                                :
 USRE 257 LLC,                                  :
 45 City Avenue                                 :
 Unit 3838                                      :
 Bala Cynwyd, PA 19004,                         :
                                                :
                      Defendant.                :
                                                :

                         ORDER GRANTING EMERGENCY
                  PETITION FOR THE APPOINTMENT OF RECEIVER

       AND NOW, this ____ day of __________, 2023, upon consideration of the Emergency

Petition of Plaintiff, Citizens Bank, N.A., successor by merger to Investors Bank (the “Movant”),

for the Appointment of Receiver (the “Petition”) respecting the assets and real property owned by

USRE 257 LLC (“Defendant”) to the relief requested in the Petition and the terms of this order

and for good and sufficient cause shown, and it appearing that:

       Pursuant to the Loan Documents, as that term is defined in the Petition, Movant has a valid

priority security interest in and lien upon the Mortgaged Property, the other Collateral (as defined

in the Petition) and all of the cash, cash receipts, other receipts and proceeds of the Mortgaged

Property and the other Collateral and all other intangible and tangible personal property of

Defendant described in the Loan Documents.

        Having established just cause for the relief granted herein, Movant is entitled to the

appointment of a receiver over all of the assets of Defendant pursuant to the Loan Documents and

applicable Pennsylvania law.

it is hereby ORDERED and DECREED that said Petition is GRANTED.

       It is further ORDERED that:

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   A. Appointment of the Receiver and the Receivership Estate


       1.      SREA Property Management LLC, a Pennsylvania limited liability company is

hereby appointed to serve as the receiver (the “Receiver”) over the Defendant and all of the of

Defendant’s business operations and all current and future assets, undertakings and properties of

every kind or nature whatsoever, wherever located and all proceeds thereof (the “Receivership

Estate”), without the necessity of posting a bond or other security. The Receivership Estate is

hereby placed in custodia legis and is subject to the exclusive jurisdiction of this Court.


       2.      The Receiver is granted, either personally or through its employees, agents, and

independent contractors, the power and authority usually held by receivers in the Commonwealth

of Pennsylvania, and all other powers reasonable necessary to accomplish the purposes of the

receivership, including, but not limited to, the authority to take immediate possession and full

control of the Receivership Estate, including but not limited to, the following:


               a.      The real property located at and commonly known as 257 South 16 Street,

       Philadelphia, PA, OPA No. 881031500, including all improvements, fixtures,

       appurtenances, awards, leases and personal property located thereon and belonging thereto

       (as more fully described in the Mortgage, the “Mortgaged Property”), and all machinery,

       apparatus, equipment, fittings, fixtures, and articles of personal property belonging to the

       Defendant located on, about, under or in the Mortgaged Property;


               b.      All other Collateral and other tangible and intangible property used or

       useable in connection with the operation of the Defendant’s business, including all leases,

       leasehold estates, contracts, tools, customer lists, tenant lists, accounts, materials and

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supplies, equipment, goods, trade fixtures, furniture, apparatus, machinery, office

equipment, computers, accounting systems and software and all renewals or replacements

thereof, and all proceeds of the Collateral;


       c.      All cash, cash on hand, checks, cash equivalents, deposit accounts, bank

accounts, cash management or other financial accounts, bank or other bank deposits and

all other cash collateral (all whether now existing or later arising), all current and past-due

earning, revenues, rents, accounts, issues and profits (all whether unpaid, accrued, due or

to become due), all claims to rent, cash collateral, any bankruptcy clams of the Defendant,

any and all tax refunds or proceeds from tax appeals (whether now existing or later arising),

and all other gross income derived with respect to the property or business operations of

the Defendant at any location at which Defendant operates or conducts business, regardless

of whether earned before or after the entry of this Order, wherever located and from

whomever may have possession (collectively, “Income”);


       d.      All insurance premium refunds, insurance proceeds, condemnation awards,

utility deposits, and deposits of every other kind related to the Defendant;


       e.      All existing and future warranty claims, claims for damages or loss of any

kind, maintenance contracts, supplier contracts, subcontracts, purchase agreements, land

contracts, leases and other contract rights, instruments, documents, chattel papers, accounts

and general intangibles with respect to or arising from or comprising a portion of the

Receivership Estate or the business operations of the Defendant, together with any




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       amendments, modifications, extensions, renewals and addenda thereto, and all deposits,

       cash and non-cash proceeds and products thereof;


               f.      All permits, licenses, other contracts or other intangible property pertaining

       to the Mortgaged Property or other property at which the Defendant operates or conducts

       business;


               g.      All trade names, trademarks, patents or copyrights owned or used by the

       Defendant, its agents, representatives or affiliates in connection with the operation of the

       Defendant’s business; and


               h.      All of Defendant’s books of account and records, tax records, accounts,

       other financial documents, business records, bank records, rent and leasing documents and

       other documents which are in any way related to any of the foregoing or that in any way

       relate to the Mortgaged Property, maintenance or operation of the same or the other

       Collateral, including without limitation computer records.


   B. Receiver’s Powers

       3.      The Receiver shall hold the fullest powers and duties of a receiver permitted under

applicable law and in equity and to do any act or otherwise deal with the Receivership Estate to

the fullest extent possible, as the Defendant could do for itself. Without limiting the generality of

the foregoing, but subject to limitations contained elsewhere in this Order, the Receiver’s

authority, powers and duties include, but are not limited to, the right to:




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       a.      Take immediate possession and control of the Receivership Estate,

including entering upon any property where any of the Receivership Estate may be located

and changing locks to the Mortgaged Property as the Receiver deems necessary;


       b.      Securing the Mortgaged Property and Personal Property in any manner

deemed necessary and appropriate by the Receiver;


       c.      Use, manage, and carry on business with the Receivership Estate, and

control, insure, maintain, preserve, repair, restore, secure, safeguard and otherwise deal

with all and every part of the Receivership Estate;


       d.      Conduct investigations of, and analyses concerning, the assets and value of

the Receivership Estate and the prior transactions of the Defendant;


       e.      Subject to Movant’s prior written consent, make any alterations,

renovations, repairs or replacements to the Mortgaged Property that it deems necessary or

desirable for the successful marketing, management and sale of the Mortgaged Property

and the other Collateral;


       f.      Secure any monies as Movant may be willing to advance for preservation,

maintenance, and sale of the Mortgaged Property and the other Collateral, including current

costs of repairs and general maintenance, security, utilities, insurance and other necessary

services and all such other reasonable expenses and expenditures necessary to carry out the

duties of the Receiver set forth herein; provide, however, (1) Receiver has provided Movant

with a budget and such budget has been approved by Movant; (2) the fees of the Receiver

shall not be paid without the prior review and approval of this Court; and (3) any expenses
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of Receiver which are not provided for in the budget in excess of $1,000 must also be

approved by Movant; (4) all monies advanced by Movant to cover expenses and fees set

forth in this Section 3 f. or otherwise advanced by Movant for the preservation and

maintenance of the Mortgaged Property or other Collateral shall be added to Defendant’s

indebtedness owed to Movant per the terms of the Loan Documents and all such monies

so advanced, including interest thereon, shall be secured by the Mortgage and the other

Collateral; and (5) nothing in this Order, however, shall be construed as requiring either

Movant or the Receiver to advance any money for the maintenance of the Mortgaged

Property or other Collateral or construed as requiring Movant to advance money for the

fees and expenses of the Receiver, except as set forth below;


       g.      Subject to the prior written consent of Movant, execute any and all

documents as may be required to sell and transfer title to the Mortgaged Property or the

other Collateral, or such other portion of the Receivership Estate for an amount that it and

Movant deem advisable, free and clear of all liens and encumbrances, and to distribute the

proceeds of the same in accordance with the lien priority laws of the Commonwealth of

Pennsylvania, each without further order of this Court;


       h.      Keep the Mortgaged Property insured (whether by existing insurance

coverage or new coverage), each of which insurance shall name the Receiver and Movant

as additional insureds thereunder and shall comply, at a minimum, with the terms of the

Loan Documents;




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          i.   Deal in all respects with the Mortgaged Property and other Collateral,

government officials, vendors and all other third-parties in connection with the operation

of, and other matters pertaining to, the Mortgaged Property and the other Collateral as an

officer of the Court and the Receiver shall not be deemed or considered an agent of Movant

or any other party;


          j.   Incur reasonable and necessary expenses and expenditures related to the

ordinary course of business or cease to carry on all or any part of the business being

conducted with the Receivership Estate;


          k.   Market for sale any or all of the Receivership Estate, including advertising

and soliciting offers in respect of the Receivership Estate or any part or parts thereof and

negotiating such terms and conditions of sale as the Receiver in his discretion may deem

appropriate;


          l.   Exercise all rights and powers of the Defendant with respect to the

Mortgaged Property, the other Collateral and other property of the Receivership Estate,

whether in the name of Defendant or otherwise, including without limitation, the right to

make, terminate, cancel, enforce or modify agreements, instruments, contracts, leases or

licenses and to sue and collect and receive all income, including rents, accounts receivable,

revenues, and profits derived from the Receivership Estate, and to compromise and settle

claims;




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        m.      Take an inventory of all equipment, inventory and other personal property

and identify all persons or entities with a security interest or other interest, or who claim to

have such an interest, in said property;


        n.      Prepare and maintain complete books, records and financial reports of the

Receivership Estate, as provided herein;


        o.      Execute, sign, issue and endorse documents of whatever nature in respect

of any portion of the Receivership Estate, including without limitation, the Mortgaged

Property, whether in the Receiver’s name or in the name and on behalf of Defendant, for

any purpose pursuant to this Order;


        p.      With the consent of Movant and subject to a budget approved by Movant,

engage such other personnel, consultants, agents, managers, and such other persons from

time to time and on whatever basis, including a temporary basis, to assist the exercise of

powers and duties conferred by this Order and as may be necessary or appropriate in order

to carry out his duties as the Receiver and to preserve, maintain and operate, or sell and

liquidate the Mortgaged Property, the business, or any or all of the Receivership Estate,

and to compensate such persons at competitive rates, without further Order of this Court,

at their respective hourly rates, plus reimbursement of all reasonable and necessary out-of-

pocket expenses;


        q.      Maintain a separate deposit or checking accounts in the Receiver’s own

name at the Bank. Receiver is specifically authorized to continue to use any existing bank

account of the Defendant so long as the Receiver is added as a signatory on any such

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account and the existing signatories are removed from each such account, in all cases with

any such bank or other deposit accounts subject to a control agreement in favor of Movant,

sufficient to grant to Movant a perfected first lien security interest in any and all such bank

and other deposit accounts;


       r.      Pay, settle, or compromise all existing bills and claims which are or may be

liens against the Mortgaged Property, the other Collateral, or any other property of the

Receivership Estate, or as necessary or desirable for the sale or operation of the Mortgaged

Property or other property of the Receivership Estate. Such payments may be made from

the sale proceeds of the Mortgaged Property or other property of the Receivership Estate,

subject to the consent of Movant and subject to review and approval of this Court and entry

of an order specifically approving and authoring payment;


       s.      Subject to the prior written consent of Movant, open new accounts with, or

negotiate, compromise or otherwise resolve the Defendant’s existing obligations to utility

companies or other service providers to the Defendant and, subject to the prior written

consent of Movant, to otherwise enter into such agreements, contracts or understandings

with such utility companies or other service providers or suppliers as are necessary to

maintain, preserve and protect the Mortgaged Property, the other Collateral or other

property of the Receivership Estate;


       t.      Receive and endorse checks pertaining to the Receivership Estate either in

the Receiver’s name or in the name of the Receivership Estate;




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          u.   Exercise any shareholder, partnership, limited liability company, joint

venture or other rights which the Defendant may have with respect to any Receivership

Estate;


          v.   Subject to the approval of Movant, retain a management company or

provide management services as the Receiver deems necessary to: (i) assist with the day to

day operations of the Receivership Estate; (ii) negotiate and implement any proposed

restructure of the obligations of the Receivership Estate with the creditors thereof; and (iii)

assist with the marketing and sale of the business operations and Receivership Estate;


          w.   Accept letters of resignation from officers, directors and any other

employees of the Defendant and terminate any of the Defendant’s employees, with or

without cause, to the extent they continue to be employed after the entry of this Order;


          x.   Commence, prosecute (in his own name or in the Defendant’s name),

defend, compromise, adjust, intervene in or become party to such actions and proceedings

in state or federal courts as may in his opinion be necessary or proper for the prosecution,

maintenance, preservation, and management of the Receivership Estate or Collateral or

otherwise the carrying out of the terms of this Order or to fulfill his duties; provided,

however, that the Receiver shall have not right to institute, prosecute, defend, compromise,

adjust, intervene in, or become a party to any action against Movant or any Lenders under

the Loan Agreement;


          y.   Take such other actions reasonably incidental to the foregoing powers as

the Receiver deems appropriate; and

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                z.      Apply to this Court for further discretion and for such further powers as may

       be necessary to enable the Receiver to fulfill his duties.


       4.       Immediately upon entry of this Order and continuing until termination of the

receivership: (i) the Receivership Estate, (ii) its equity holders, agents, managers, employees,

assignees, representatives, officers, directors, affiliates, shareholders and related entities, and all

persons acting on Defendant’s instructions or behalf or in concern with, or for them (together with

the Receivership Estate, the “Defendant Parties”); and (iii) all other individuals, firms,

companies, governmental bodies or agencies, or other entities having notice of this Order (all of

the foregoing, the Defendant Parties, and the Defendant, collectively referred to as “Person” and

singularly a “Persons”) are ordered to cooperate in the transition to the Receiver of the

management of the Receivership Estate and business and shall immediately surrender and turnover

the Receivership Estate to the Receiver upon the entry of this Order, including, but not limited to

all of the following:


                a.      All keys and codes to access doors and codes to change the codes to those

       doors.


                b.      All written communications, contracts or leases concerning the operation of

       the Receivership Estate.


                c.      All funds, including security deposits, deposit accounts, and an accounting

       for all funds and security deposits.


                d.      The petty cash funds, if any.

                e.      An aged listing of all trade payables and other payables.
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        f.      A list of utilities and utility accounts.

        g.      An inventory of all equipment, furniture, and supplies.

        h.      All existing service contracts.

        i.      All licenses, permits, or governmental approvals.

        j.      Federal and state taxpayer numbers.

        k.      All insurance policies and their terms.

        l.      Documents identifying and summarizing all pending litigation (excluding

this action).


        m.      Any books, documents, written records, securities, contracts, orders,

accounting records, and any other papers, records and information of any kind related

to the business or affairs of the Defendant conducted with the Receivership Estate, and

any computer programs, computer tapes, computer disks, or other data storage media

containing any such information (the foregoing are collectively referred to as the

“Records”) in a Person's possession or control, and shall provide to the Receiver or

permit the Receiver to make, retain and take away copies thereof and grant to the

Receiver unfettered access to and use of accounting, computer, software and physical

facilities relating thereto. If Records are stored or otherwise contained on a computer

or other electronic system of information storage, whether by independent service

provider or otherwise, all Persons in possession or control of such Records shall

forthwith give unfettered access to the Receiver for purposes of allowing the Receiver

to recover and fully copy all of the information contained therein whether by way of

printing the information onto paper or making copies of computer disks or such other

manner of retrieving and copying the information as the Receiver in his discretion
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       deems expedient, and shall not alter, erase or destroy any records without the prior

       written consent of the Receiver. Further, for purposes of this paragraph, all Persons

       shall provide Receiver with all such assistance in gaining immediate access to the

       information in the Records as the Receiver may in his discretion require, including

       providing the Receiver with instructions on the use of any computer or other system

       and providing the Receiver with any and all access codes, account names and account

       numbers that may be required to gain access to the information.


              n.     All computer equipment, software, management files, equipment, furniture,

       supplies, and all passwords needed to access all software and computer files, e-mail

       accounts maintained at the management office(s) (and all off-site financial Records)

       including, but not limited to, all Records concerning the income and the operation and

       management of the Receivership Estate.


              o.     Such other Records pertaining to the management of the Receivership

       Estate as may be requested by the Receiver.


       5.     The Defendant is prohibited from removing any property belonging to the

Receivership Estate or diverting any income and shall have no control or right to any income

from the Receivership Estate.


       6.     The Defendant shall fully cooperate with the Receiver in adding the Receiver as

additional insured and as the loss payee on all insurance relating to the operation and

management of the Receivership Estate, including, but not limited to, fire, extended coverage,

property damage, liability, fidelity, errors and omissions, and workers compensation, and

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modifying the policies if deemed appropriate by the Receiver. The Defendant is prohibited

from canceling, reducing, or modifying any and all insurance coverage in existence with

respect to the Receivership Estate.


       7.       Defendant is directed to use its best efforts to ensure a smooth transition of the

operation and management of the Receivership Estate to the Receiver, and Defendant and each of

its members, managers, partners, agents, servants, employees, or other representatives, are hereby

enjoined from interfering in any manner with the Receiver in his performance of his duties as set

forth in this Order, and from collecting any monies due and owing to them or the Receiver,

regardless of whether such monies are in the form of rents from any tenants of the Mortgaged

Property or otherwise, and from interfering in any way with Movant’s or Receiver’s collection of

such monies.


       8.       All persons now or hereafter in possession of all or any of the Mortgaged Property

or other property of the Receivership Estate shall pay to the Receiver, or the Receiver’s agent, all

monies due and owing to the Defendant.


       9.       Movant will continue to retain all of its rights as a secured creditor and Movant is

not obligated to release any liens or otherwise consent to a sale unless Movant receives all amounts

due to Movant under the Loan Documents, additional interest, default interest, late fees, attorneys’

fees, costs of collection and all other amounts provided by the Loan Documents.


       10.      In carrying out the duties contained in this Order, the Receiver is authorized, but

not required:



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               a.      Subject to the prior written approval of Movant, to engage contractors and

       skilled trades on a competitive bid basis to maintain the Receivership Estate, and to execute

       such contracts for such purpose as the Receiver deems appropriate.


               b.      To enforce, amend, or terminate any existing contracts affecting the

       Receivership Estate.


               c.      To reject, with only written notice of immediate termination, any leases or

       unexpired contracts that are burdensome to the Receivership Estate.


               d.      To execute, cancel, modify, renegotiate, or abrogate all service,

       maintenance, or other contracts relating to the operations of the Receivership Estate, to the

       extent permitted by applicable law.


               e.      To contest, protest, or appeal any ad valorem tax or assessment, real estate

       tax, personal property tax, or other tax or assessment pertaining to the Receivership Estate.


       11.     Although the Receiver shall have exclusive and sole possession and control of the

Receivership Estate, the Receiver shall not take title to the Receivership Estate.


   C. Receiver’s Fees and Expenses

       12.     The Receiver with the consent of Movant shall receive compensation for the

services rendered pursuant to the Receiver’s duties as specified in this Order, and reimbursement

for reasonable out-of-pocket expenses actually and necessarily incurred with such services

rendered. To obtain approval for payment of fees and expenses, the Receiver shall submit each



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month a detailed invoice of fees and expenses to Movant and the payment of such fees and

expenses shall be conditioned on the prior approval of Movant.


       13.     To the extent proceeds from the Mortgaged Property are insufficient to pay the

fees of the Receiver, Movant will pay the fees of the Receiver as set forth in the Letter in Support

of the Appointment of Receiver, together with the reasonable and necessary fees of the Receiver

as approved by Movant. Such payments shall be made within sixty (60) days of receipt of the

invoice. Any fees, costs and other expenses paid by Movant shall be added to Defendant’s

indebtedness owed to Movant per the terms of the Loan Documents and all such monies so

advanced, including interest thereon, shall be secured by the Mortgage and the other Collateral.


       14.     Movant shall be permitted to terminate the services of the Receiver upon fifteen

(15) days’ written notice without further order of the Court, and the Receiver has the right to

resign upon thirty (30) days written notice without further order of the Court.


   D. General Provisions

       15.     The Receiver shall keep a true and accurate account of any and all receipts and

expenditures and shall, within 20 days after the end of each quarter commencing after the first full

calendar quarter after the entry of this Order, or so often as the Court directs, file with the Court

an inventory and account under oath, the amount of any cash or other funds remaining in his hands

or invested by it, and of the manner in which the same is secured or invested, stating the balance

due from or to it at the time of rendering his last account, the receipts and expenditure since that

time. The account shall include detailed information concerning income, expenses, payables and

receivables.


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        16.       No person or entity shall file suit against the Receiver, or take other action against

the Receiver, relating to his management and operation of the Receivership Estate without an order

of this Court permitting the suit or action; provided, however, that no prior court order is required

to file a motion in this action to enforce the provisions of this Order or any other order of this Court

in this action.


        17.       The Receiver shall have no obligation to pay any debt incurred prior to the entry of

this Order but may do so in his sole discretion with the written consent of Movant. The Receiver

and its employees and agents shall have no personal liability in connection with any liabilities,

obligations, liens, amounts owed to any of the Defendant’s creditors because of the exercise of the

Receiver’s duties as Receiver.


        18.       The Defendant, all Defendant Parties, and all those having claims against the

Receivership Estate, are enjoined from, and shall not:


                  a.     Commit Waste. Commit or permit any waste on all or any part of the

        Receivership Estate, or suffer or commit or permit any act on all or any part of the

        Receivership Estate in violation of law, or remove, transfer, encumber, or otherwise

        dispose of any of the Receivership Estate.


                  b.     Collect Income. Demand, collect, receive, discount, or in any otherwise

        divert or use any of the Income.


                  c.     Interfere with the Receiver. Directly or indirectly interfere in any manner

        with the discharge of the Receiver’s duties under this Order or the Receiver’s possession

        of and operation or management of the Receivership Estate including, but not limited to,
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by using self-help or executing or issuing or causing the execution or issuance of any court

attachment, subpoena, replevin, execution, or other process for the purpose of impounding

or taking possession of or interfering with or creating or enforcing a lien upon any portion

of the Receivership Estate, wherever situated.


         d.    Transfer or Encumber the Receivership Estate. Expend, disburse, transfer,

assign, sell, convey, devise, pledge, mortgage, create a security interest, encumber,

conceal, or in any manner whatsoever deal in or dispose of the whole or any part of the

Receivership Estate including, but not limited to, the Income, without prior order of the

Court.


         e.    Impair the Preservation of the Receivership Estate. Do any act that will, or

that will tend to, impair, defeat, divert, prevent, or prejudice the perseveration of the

Receivership Estate, including the Income.


         f.    Modify Due Dates. Attempt to modify, cancel, terminate, call, extinguish,

revoke or accelerate the due date of any lease, loan, mortgage, indebtedness, security

agreement or otherwise affecting the Receivership Estate.


         g.    Legal Actions. Commence, prosecute or continue to maintain any

arbitration, lawsuit or other action against the Defendant or the Receivership Estate or any

persons or entities, to the extent that such claims being asserted against the Defendant or

the Receivership Estate or such persons or entities relate to obligations of the Defendant

(excluding the present action).



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          19.   Any utility company providing services to the Receivership Estate, including gas,

electricity, water, sewer, trash collection, telephone communications or similar services, shall be

prohibited from discontinuing services to the Receivership Estate based upon unpaid bills incurred

by the Receivership Estate. Such unpaid bills shall be the sole responsibility of the Defendant. In

addition, such utility companies shall be prohibited from demanding the Receiver deposit funds in

advance to secure such service.


          20.   Neither the Receiver, nor any person or entity employed by it, including, without

limitation the Receiver’s agents and other professionals, shall be liable to the Defendant or any

third party for any actions taken, actions not taken, any other act, omission or decision made in

performing the duties of the Receiver under this Order or which are based upon the exercise of

reasonably prudent business judgment. The Receiver, its employees and professional, are entitled

to rely on all outstanding rules of law and Court Orders and shall not be liable to anyone for their

own compliance with any order, rule, law, judgment or decree. In no event shall the Receiver be

liable to anyone for compliance with the Receiver’s duties and responsibilities, nor shall the

Receiver, its employees or advisors be liable to anyone for any actions taken or omitted by them

except upon a finding by this Court that they acted or failed to act as a result of fraud or gross

negligence or failed to exercise reasonably prudent business judgment. No person or entity may

file suit against the Receiver, or take other action against the Receiver, without an order of this

Court permitting the suit or action; provided, however, that no prior order is required to file a

motion in this action to enforce the provisions of this Order or any other order of this Court in this

action.




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       21.     Neither the Receiver nor any person or entity employed by it shall have personal

liability for any environmental liabilities arising out of or relating to the Defendant or its business

or the Receivership Estate or for any tax liability owed by Defendant to third parties, wages,

benefits or other compensation due to employee, officers, directors, or agents or any other

indebtedness or obligations to third parties arising prior to his appointment and qualification as the

Receiver.


       22.     The Receiver shall be entitled to indemnity from the Receivership Estate, from any

liability, debts, claims, demands, damages, actions, causes of action and/or judgments which: (i)

arise out of the receivership herein, (ii) are brought against the Receiver, his agents or

subcontractors, personally, and (iii) are not attributable to the Receiver’s, his agents’ or

subcontractors’ intentional misconduct, malfeasance, bad faith, gross negligence or reckless

disregard of their duties.


       23.     The Receiver shall not be bound by all or any contracts, agreements, understandings

or other commitments the Defendant had, or may have with third parties, whether oral or written.

The Receiver may, by an affirmative written ratification executed by the Receiver, agree to become

bound to any such contracts, agreements, understandings or other commitments or may agree to

enter into any new or amended contracts, agreements, understandings or other commitments.

Nothing in this Order constitutes or shall be construed to constitute an assumption of any of the

leases, contracts or agreements currently existing with respect to the Receivership Estate or a

waiver by the Receiver of any default under any such lease, contract or agreement.




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       24.     The Receiver is acting as an officer of the Court and not as an agent of any party to

this matter, and nothing contained herein shall be deemed to have conferred upon Movant the

status of mortgagee-in-possession.


       25.     The Receiver shall faithfully perform and discharge the Receiver’s duties and obey

the Court’s orders.


       26.     The Receiver is subject to the personal jurisdiction of the Court.


       27.     The Receiver shall not be responsible or required to prepare or file tax returns in

connection with the Receivership Estate or the Defendant.


   E. Instructions in the Event of a Bankruptcy Filing

       28.     Upon receipt of notice that a bankruptcy has been filed which includes as part of

the bankruptcy estate any property which is subject of this Order, the Receiver shall remain in

possession and preserve the property, pending resolution of any motion for turnover by the

bankruptcy court. The Receiver is specifically authorized to remain in possession and preserve

the Receivership Estate for which such relief is being sought pending the outcome of those motions

(11 U.S.C. § 543(a)). The Receiver’s authority to preserve the Receivership Estate is limited as

follows: (a) the Receiver may continue to operate the Receivership Estate as provided herein, and

(b) the Receiver may make disbursements limited to those which are necessary to preserve and

protect the Receivership Estate. The Receiver shall not execute any new leases or other long-term

contracts. The Receiver shall do nothing that would affect a material change in circumstances of

the Receivership Estate.



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       29.     Within thirty (30) days of the entry of this Order, the Receiver shall notify all known

creditors of the entry of the Order and shall keep records of such notice that may be made available

to this Court upon request.




                                              BY THE COURT:



                                              _______________________________
                                                                      J.




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Stradley Ronon Stevens & Young, LLP
BY: Gretchen M. Santamour, Esquire
       Julie M. Murphy, Esquire                                   Attorneys for Plaintiff
       Daniel M. Pereira, Esquire
ID. Nos. 41720, 206265, 318674
2005 Market Street, Suite 2600
Philadelphia, PA 19103
(215) 564-8000

 CITIZENS BANK, N.A., successor by            :
 merger to Investors Bank,                    :   COURT OF COMMON PLEAS
                                              :   OF PHILADELPHIA COUNTY
                       Plaintiff,             :
                                              :   September Term, 2023
                 v.                           :
                                              :   No. 01940
 USRE 257 LLC,                                :
 45 City Avenue                               :
 Unit 3838                                    :
 Bala Cynwyd, PA 19004,                       :
                                              :
                      Defendant.              :
                                              :

 EMERGENCY PETITION OF PLAINTIFF, CITIZENS BANK, N.A., SUCCESSOR BY
   MERGER TO INVESTORS BANK, FOR THE APPOINTMENT OF RECEIVER

       Pursuant to Pennsylvania Rule of Civil Procedure 1533(a), Plaintiff, Citizens Bank, N.A.,

successor by merger to Investors Bank (“Citizens” or “Bank”), with a place of business at 101

JFK Parkway, Short Hills, New Jersey 07078, moves the Court for an Order appointing a

receiver to control, manage and sell the business operations and assets of Defendant, USRE 257

LLC,, a Delaware limited liability company, with a place of business at 45 City Avenue, unite

3838, Bala Cynwyd, PA 19004 and a registered office of 2711 Centerville Road, Suite 400,

Wilmington, DE 19808 (“Borrower” or “Defendant”). The factual and legal grounds for this

Petition are set forth in the accompanying Memorandum of Law, which is being filed

contemporaneously herewith and which is incorporated herein as if set forth in full. In addition

thereto, Citizens hereby avers as follows:




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                                       INTRODUCTION

       1.       The Mortgaged Property for which the emergency appointment of a receiver is

sought is abandoned and insecure and poses a danger to the public and uninvited third parties.

       2.       Defendant has refused to implement sufficient security and safety measures that

are necessary to secure the property against vandals, and the property itself is unsafe, containing

flammable materials, a damaged roof and holes in the floor that open to a ten (10) foot drop into

the basement.

       3.       Neighbors have complained about trespassers using the Mortgaged Property to

access adjacent properties and vandalize them.

       4.       Immediate relief is necessary and appropriate to ensure the security of the

building, eliminate safety hazards to the public, adjacent buildings and neighbors, and preserve

the value of Citizens’ collateral.

                                        BACKGROUND

       5.       To fund certain improvements to real estate owned by the Borrower, on

November 30, 2020, Citizens extended to Borrower a construction and permanent mortgage loan

in the maximum principal amount of Fourteen Million and 00/100 Dollars ($14,000,000) (the

“Loan”).

       6.       The obligations of Borrower to Citizens for the Loan are evidenced by, among

other things, (a) that certain Loan Agreement between Borrower and Lender dated November 30,

2020 (as amended, modified, supplemented and/or restated from time to time, the “Loan

Agreement”), and (b) that certain Mortgage Loan Note by Borrower to Citizens, dated

November 30, 2020, in the maximum principal amount of $14,000,000.00 (as amended,

modified, supplemented and/or restated from time to time, the “Note”).




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       7.      True and correct copies of the Loan Agreement and the Note are attached hereto

as Exhibits A and B, respectively, and incorporated herein by reference as if set forth in full.

       8.      The obligations of Borrower to Citizens under the Note and Loan Agreement are

secured by, inter alia,

            a. that certain Open End Mortgage, Assignment of Leases and Rents and Security

               Agreement and Fixture Filing by Borrower to Citizens, dated November 30, 2020

               (as amended, modified, supplemented and/or restated from time to time, the,

               “Mortgage”), granting to Citizens a first priority lien and security interest in (i)

               that certain real property and improvements thereon known as 257 South 16

               Street, Philadelphia, PA, OPA No. 881031500 (as more fully described in the

               Mortgage, the “Mortgaged Property”), and (ii) the fixtures, chattels, accounts,

               equipment, inventory, contract rights, general intangibles and other personal

               property included within the Project (as further defined in the Mortgage, the

               “Personal Property Collateral”);

            b. that certain Absolute Assignment of Leases and Rents by Borrower in favor of

               Citizens, dated November 30, 2020 (as amended, modified, supplemented and/or

               restated from time to time, the “Assignment of Rents”);

            c. that certain assignment of plans and approvals, by Borrower in favor of Citizens,

               dated November 30, 2020 (as amended, modified, supplemented and/or restated

               from time to time, the “Assignment of Plans”); and

            d. that certain Assignment of Contracts, Licenses and Permits, by Borrower to Bank,

               dated November 30, 2020 (as amended, modified, supplemented and/or restated

               from time to time, the “Assignment of Contracts”);




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        9.       The Mortgage was recorded with the office of the Recorder of Deeds of

Philadelphia County, PA on December 8, 2020 at Document No. 53760075. A true and correct

copy of the Mortgage is attached hereto as Exhibit C and incorporated herein by reference as if

set forth in full.

        10.      The Assignment of Rents was recorded with the office of the Recorder of Deeds

of Philadelphia County, PA on December 8, 2020 at Document No. 53760076. A true and

correct copy of the Assignment of Rents is attached hereto as Exhibit D and incorporated herein

by reference as if set forth in full.

        11.      To perfect the Bank’s interest in the Personal Property Collateral, UCC-1

financing statements were filed listing the Bank as secured party and the Borrower as debtor, as

follows: (a) with the Office of the Recorder of Deeds of Philadelphia County, Pennsylvania, on

December 8, 2020, at Document No. 53760077, and (b) with the Delaware Secretary of State on

December 8, 2020, at Document No. 2020 8624084, together the “UCC-1 Financing

Statements.”

        12.      Additionally, the obligations of Borrower to Citizens under the Loan are secured

by (a) that certain Guaranty and Suretyship Agreement by David Daniel and David Schreiber in

favor of Bank, dated November 30, 2020 (as amended, modified, supplemented, confirmed,

ratified and/or restated from time to time, the “Guaranty”), and (b) that certain Guaranty of

Completion by David Daniel and David Schreiber in favor of Bank, dated November 30, 2020

(as amended, modified, supplemented, confirmed, ratified and/or restated from time to time, the

“Completion Guaranty”, and together with the Guaranty, the “Guaranties”).

        13.      The Loan Agreement, Notes, Mortgage Assignment of Rents, the Assignment of

Plans, the Assignment of Contracts, the Guaranties and all other documents executed in




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connection with or otherwise evidencing the Loan shall be referred to herein as the “Loan

Documents.”

Hazardous Conditions at the Mortgaged Property Pose a Danger to the Public and Imminent
                              Harm to Citizens’ Interests

       14.      The Mortgaged Property is a seventeen-story building in Center City,

Philadelphia.

       15.      While the front door of the property is padlocked, a trash shoot on the exterior of

the building leads to an unsecured window eight feet off the ground, which, together with fire

escapes and ladders, allow third parties to access the interior of the property through open

windows and unsecured doors.

       16.      Numerous doors in the building do not fit within the frames and are therefore ajar.

       17.      Numerous windows are open around the building, and previously placed plastic

coverings have been shorn away by weather conditions.

       18.      The building itself is unsafe, with demolition materials littered throughout that

pose a fire hazard.

       19.      Nearly two-thirds of the ground floor was removed, leaving gaping holes that lead

to a ten-foot hole into the basement of the building.

       20.      The building also contains copper wiring and other valuable materials that

comprise an attractive nuisance to thieves.

       21.      Likewise, the condition of the roof of the building has deteriorated and is unsafe

for anyone to climb on. The deteriorated roof likewise allows the intrusion of moisture.

       22.      Defendant has never completed construction of the Improvements (as such term is

defined in the Loan Agreement) and equity members of Defendant have refused to contribute

funds to fund the completion of the Improvements.



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       23.      The managing members of Defendant have been notified of the dangerous

conditions at the Mortgaged Property and have failed to take any action.

       24.      The Bank has requested Defendant repair damages to the Mortgaged Property and

board up open windows, but the Defendant has ignored the requests.

       25.      Counsel for the Bank has reached out to counsel for the Borrower and has not

received any response to e-mails or voice mails.

       26.      Representatives of the Bank recently visited the Mortgaged Property and

witnessed signs of illegal, unauthorized entry into the Mortgaged Property by uninvited

individuals who are exposed to harm given the conditions of the Property.

       27.      Neighbors of the Mortgaged Property have notified the Defendant and the Bank to

advise of the lack of security at the Mortgaged Property and presence of unauthorized

individuals. A true and correct copy of one example of such correspondence is attached hereto

as Exhibit E.

       28.      There is evidence of graffiti, trash and human waste on the Mortgaged Property

confirming such accounts, and the Bank was provided with a video of three individuals accessing

the Mortgaged Property around midnight on September 18, 2023.

                                          The Defaults

       29.      Pursuant to the Loan Agreement, Borrower was required to, and failed to,

complete construction of the Improvements within the timeframe provided for in the Loan

Documents.

       30.      Construction activity at the Mortgaged Property has ceased although construction

of the Improvements remains incomplete.

       31.      Borrower has abandoned the Mortgage Property, leaving it unsecured and

resulting in a danger to the public.


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       32.      The Mortgaged Property has open windows and other access points that allow

third parties to gain entry and utilize the property for unintended purposes.

       33.      Third parties accessing the property are damaging the interior and exterior of the

Mortgaged Property, and Citizens has been notified that the Mortgaged Property is being used

for such parties to access and to damage other adjacent properties, resulting in mounting

complaints from neighbors.

       34.      The abandoned and unsecured Mortgaged Property poses health and safety issues

to the public and is contributing to the diminution in value of the Mortgage Property (Citizens’

collateral), which directly damages Citizens.

       35.      Upon information and belief, Borrower has ceased paying contractors and

property managers in connection with the Mortgaged Property.

       36.      Defaults and Events of Default have occurred under the Loan Documents as a

result of, among other things, the following:

             a. Failure to pay the outstanding indebtedness under the Loan in full on or prior to

                the Initial Maturity Date (as such term is defined in the Loan Agreement), which

                constitutes an Event of Default under Section 6.2 of the Loan Agreement;

             b. The existence of a mechanic’s lien on the Mortgaged Property, which has not

                been vacated or bonded over and stayed within thirty days, which constitutes an

                Event of Default under Section 6.6. of the Loan Agreement;

             c. The Mortgaged Property is not being operated and maintained in accordance with

                Legal Requirements, in violation of Section 5.14 of the Loan Agreement;

             d. Borrower’s failure to secure the property materially and adversely affects the

                operations and value of the Mortgaged Property, which constitutes an Event of

                Default under Section 6.17 of the Loan Agreement; and


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              e. The work on the Mortgaged Property has been suspended and has not proceeded

                 in a timely manner with due diligence, which constitutes an Event of Default

                 under Section 6.20 of the Loan Agreement;

              f. Borrower has failed to pay the Philadelphia City Center District assessments,

                 resulting in liens filed against the Mortgaged Property in violation of Section 5.1

                 and 5.3 of the Loan Agreement;

              g. Borrower allowed the insurance on the Mortgaged Property to lapse, resulting in a

                 requirement that the Bank force-place insurance, which is a breach of, among

                 other things, Section 7 of the Mortgage and an Event of Default pursuant to

                 Section 17 of the Mortgage.

        37.      As a result of the occurrence of Events of Default, the Bank sent Borrower a

notice of default on May 8, 2023.

        38.      On June 27, 2023, counsel for the Bank sent an additional notice of default and

demanded payment in full of the outstanding bank indebtedness. A true and correct copy of the

June 27, 2023 correspondence is attached hereto as Exhibit F and incorporated by reference

herein as if set forth in full.

        39.      The enumerated defaults continue to exist without waiver, cure or remedy or are

otherwise uncurable by their nature.

        40.      The Defendant advised the Bank that it could not raise additional investments

from its investors to cover cost overruns and, hence, has abandoned the Mortgaged Property.

        41.      Defendant’s failure to maintain insurance on the Mortgage Property is further

evidence of Defendant’s abandonment of the property. Citizens has purchased force-place

insurance for the Mortgaged Property




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                                  RIGHT TO A RECEIVER


       42.     In addition to equitable factors warranting appointment of a receiver, Citizens has

the contractual right to the appointment of a receiver upon the occurrence of an Event of Default

under the Loan Documents.


       43.     Section 7.5 of the Loan Agreement provides that the Lender may have a receiver

appointed for the purpose of preserving the Project, preventing waste and to protect all of the

Lender’s rights, as follows:


               “Receivership. In the Lender’s sole and absolute discretion, apply
               ex parte to a court of competent jurisdiction for the appointment
               of a receiver, without notice and without regard to the solvency of
               Borrower or the adequacy of any collateral, for the purpose of
               preserving the Project, preventing waste, and to protect all rights
               accruing to Lender by virtue of this Agreement or any of the Loan
               Documents, and expressly to do any further acts as Lender may
               determine to be necessary or appropriate to complete the
               development and construction of the Improvements. All expenses
               incurred in connection with the appointment of such receiver, or in
               protecting, preserving, improving or operating the Mortgaged
               Property shall be charged against Borrower and shall be secured by
               the Loan Documents. Borrower and each Guarantor consents to
               the appointment of a receiver in such circumstances and covenants
               and agrees that neither Borrower nor any Guarantor will contest,
               oppose or delay the Lender’s application aforesaid.”


See, Ex. A., Loan Agreement.

       44.     The conditions present at the Mortgaged Property pose an imminent risk to the

public, including adjacent property owners and uninvited trespassers.

       45.     The Defendant and its owners refuse to take responsibility for securing the

property to ensure that no uninvited parties will be harmed and to ensure preservation of the

Mortgaged Property against the elements and vandals.



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       46.     Borrower cannot dispute that the Mortgaged Property has been abandoned and

improperly secured, with all construction activity indefinitely suspended.

       47.     The Loan Documents specifically authorize appointment of a receiver in these

exact circumstances – for the protection, preservation, improvement and operation of the

Mortgaged Property.

       48.     It is well-settled under Pennsylvania law that the terms of a loan document,

including terms providing for the appointment of a receiver upon default, are binding on the

parties thereto. See, e.g., Metropolitan Life Ins. Co. v. Liberty Ctr. Venture, 437 Pa. Super. 544,

650 A.2d 887 (1994).

       49.     In addition, when a defendant corporation is unable to meet its obligations, it

constitutes insolvency and a sufficient basis exists for the appointment of a receiver. See

Ketchum v. McDonald, 85 F.2d 436 (3d Cir. 1936).

       50.     Moreover, even where the subject company is solvent, a court may appoint a

receiver where it is required by the facts, circumstances and equities of a case. See Tate v.

Philadelphia Transp. Co., 190 A.2d 316, 321 (Pa. 1963).

       51.     In this case, the Mortgaged Property has been abandoned and left unsecured, and

the Defendant and its ownership refuse to secure the property. Not only does the abandonment

of the property create a public nuisance, by attracting uninvited third parties to use the same for

shelter and/or access to neighboring properties, but it poses an imminent risk of diminution to

Citizens’ collateral for the Loan as the property is vandalized and subject to damages from

uninvited third parties and the elements.

       52.     Therefore, in accordance with Pennsylvania law and the express terms of the

Loan Documents, Citizens is entitled to the appointment of a receiver.




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                            RIGHT TO REPAIR AND CONSTRUCT

        53.     In addition to the right to appoint a receiver to preserve, secure and protect the

Mortgaged Property pursuant to the Loan Agreement, the Mortgage permits the Bank to make

repairs and complete construction of the Project.

        54.     Specifically, Section 18 of the Mortgage permits the Bank to complete

construction of the Project, employing such persons in connection therewith reasonably

necessary or desirable by Bank to do so and to charge any sums in connection therewith to

Borrower, to be secured by the Mortgage. See, Ex. C., Mortgage.

        55.     Likewise, Section 18(g) of the Mortgage permits the Bank to take “such other

action to protect and enforce the rights [under the Mortgage], as [the Bank] deems reasonably

advisable . . ..” Id.

        56.      Additionally, the Mortgage permits the Bank to cure any defaults under the Loan

Documents, adding any payment or expense incurred in connection therewith to the outstanding

Bank Indebtedness. Id.

       NECESSITY OF APPOINTING A RECEIVER ON AN EMERGENCY BASIS

        57.      Citizens herein seeks an order of this Court, confirming its rights under, inter

alia, the Loan Documents, to appoint a receiver to take control of the Defendant’s business and

assets, to secure, operate and manage the Mortgage Property, to engage such contractors,

architects and other professionals as the receiver deems necessary (in consultation with the

Bank) to render the property safe, complete construction of the Improvements (if deemed

necessary by the Bank), to sell the Mortgaged Property, and to sell such other assets as necessary

to protect the interests of Citizens.

        58.      The appointment of a receiver on an emergency basis is necessary to avoid a

public safety hazard and imminent and irreparable harm to the Collateral as a result of the


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abandonment of the Mortgaged Property and lack of security thereon. The Defendant is no

longer operating, and the Mortgage Property is unsecured and vulnerable to vandals.

       59.      Continued failure to secure the property, permeated with hazardous conditions

and flammable debris, and deferred maintenance of the Mortgaged Property have created

conditions that threaten the health and welfare of parties who enter the premises and parties

occupying adjacent properties.

       60.      This threat to the public health and safety is imminent and must be addressed

immediately.

       61.      In addition, the condition of the Mortgaged Property and ability of third parties

to access it causes a significant and immediate risk to the Bank as the value of its collateral has

and will continue to diminish.

       62.      Defendant has failed to pay the principal of the Loan and all other amounts due

under the Loan Documents upon the Initial Maturity Date.

       63.      Defendant’s business is defunct and that there is no serious prospect, absent sale

of the Mortgaged Property, of Defendant’s being able to turn its operations around and pay

Citizens the amounts due to it under the Loan Documents. Given the condition of the Mortgaged

Property, without securing the property and making immediate and necessary repairs, obtaining a

sale price sufficient to satisfy the Bank Indebtedness is unlikely.

       64.      Defendant has failed to obtain additional capital and has been unable or

unwilling to complete construction of the Improvements so that a sale of the Mortgaged Property

can be conducted.

       65.      Defendant has also failed to pay certain taxes, utilities and other obligations

resulting in liens, including mechanics’ liens, to be placed on the Mortgaged Property that may




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prime Citizens’ liens and will need to be satisfied in connection with any sale of the Mortgaged

Property by a receiver.

        66.      The only path forward that will sufficiently protect Citizens’ rights and its

interests in the Mortgaged Property and other Personal Property Collateral, is the appointment of

a receiver who can be charged with taking control of Defendant’s business, securing the

Mortgaged Property, completing construction of the Mortgaged Property so that it can be

positioned for sale to repay as many as Defendant’s obligations as possible.

        67.      Citizens, as a secured creditor, presently holds a legal interest in the Mortgaged

Property and the other Collateral that will be further damaged in the absence of the appointment

of a receiver.

        68.      In the absence of the appointment of a receiver, Citizens will suffer irreparable

injury, as a result of, inter alia, the diminution in condition and value of the Mortgaged Property

and Personal Property Collateral and Defendant’s inability to satisfy its monetary and other

obligations to Citizens and other creditors.

                            PROPOSED ENGAGEMENT OF A RECEIVER


        69.      Citizens proposes that SREA Property Management LLC (“SREA”) be appointed

as the receiver (“the “Receiver”) for the Defendant for a period commencing on the date of an

Order to be entered by this Court appointing a receiver and ending upon the earlier of (a) the

termination of such appointment by further Order of this Court or (b) the Receiver’s sale of the

Mortgaged Property and the other Collateral and any other assets of Defendant. Documents

evidencing the qualifications of the Receiver are attached hereto as Exhibit G.

        70.      Pursuant to an agreement between the proposed Receiver and Citizens and subject

to the approval of the Court, the Receiver shall charge its customary rate of $3,750 per month,



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plus reasonable and necessary expenses approved by the Bank. The customary fees for SREA’s

professionals are more fully described in Exhibit H.

       71.       Citizens respectfully requests that the Receiver be appointed for the benefit and

protection of the rights and interests of the Citizens.


       72.       Citizens proposes that the Receiver be granted, either personally or through its

employees, agents, and independent contractors, the power and authority usually held by

receivers in the Commonwealth of Pennsylvania, and all other powers reasonably necessary to

accomplish the purposes of the receivership, including, but not limited to, the authority to take

immediate possession and full control of the “Receivership Estate,” including but not limited to,

the following:


                             a. The Mortgaged Property, the Personal Property Collateral and all
                 machinery, apparatus, equipment, fittings, fixtures, and articles of personal
                 property belonging to the Defendant located on, about, under or in the Mortgaged
                 Property;

                             b. All other Collateral and other tangible and intangible property of
                 the Defendant’s business, including all leases, leasehold estates, contracts, tools,
                 accounts, materials and supplies, all equipment, all furniture, apparatus,
                 machinery, office equipment, computers, accounting systems and software and all
                 renewals or replacements thereof and all proceeds of the Collateral;

                              c. All cash, cash on hand, checks, cash equivalents, deposit accounts,
                 bank accounts, cash management or other financial accounts, bank or other bank
                 deposits and all other cash collateral (all whether now existing or later arising), all
                 claims to rent, cash collateral, any bankruptcy clams of the Defendant, any and all
                 tax refunds or proceeds from tax appeals (whether now existing or later arising),
                 and all other gross income derived with respect to the property or business
                 operations of the Defendant at any location at which Defendant operates or
                 conducts business, wherever located and from whomever may have possession
                 (collectively, “Income”);

                              d. All insurance premium refunds, insurance proceeds, condemnation
                 awards, utility deposits, and deposits of every other kind related to the Defendant;

                            e. All existing and future warranty claims, claims for damages or loss
                 of any kind, maintenance contracts, supplier contracts, subcontracts, purchase
                 agreements, land contracts, leases and other contract rights, instruments,
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              documents, chattel papers, accounts and general intangibles with respect to or
              arising from or comprising a portion of the Receivership Estate or the business
              operations of the Defendant, together with any amendments, modifications,
              extensions, renewals and addenda thereto, and all deposits, cash and non-cash
              proceeds and products thereof;

                           f. All permits, licenses, other contracts or other intangible property
              pertaining to the Mortgaged Property or other property at which the Defendant
              operates or conducts business;

                          g. All trade names, trademarks, patents or copyrights owned or used
              by the Defendant, its agents, representatives or affiliates in connection with the
              operation of the Defendant’s business; and

                          h. All of Defendant’s books and records, accounts or documents
              which are in any way related to any of the foregoing or that in any way relate to
              the Mortgaged Property, the other Collateral or the Defendant’s business, in any
              format whatsoever, including, without limitation computer records.

       73.    Citizens further proposes that the Receiver, either personally or through its

employees, agents, and independent contractors, be granted the power and authority usually held

by receivers in the Commonwealth of Pennsylvania, and all other powers reasonably necessary

to accomplish the purposes of the receivership, including, but not limited to, the following

powers:


                          a. Take immediate possession and control of the Receivership Estate,
              including entering upon any property where any of the Receivership Estate may
              be located and changing the locks as the Receiver deems necessary;

                        b. Securing the Mortgaged Property and Personal Property in any
              manner deemed necessary and appropriate by the Receiver;

                          c. Use, manage, and carry on business with the Receivership Estate,
              and control, insure, maintain, preserve, repair, restore, secure, safeguard and
              otherwise deal with all and every part of the Receivership Estate;

                           d. Conduct investigations of, and analyses concerning, the assets and
              value of the Receivership Estate and the prior transactions of the Defendant;

                          e. Subject to Citizens’ prior written consent, to make any alterations,
              renovations, repairs or replacements to the Mortgaged Property that it deems
              necessary or desirable for the successful marketing, management and sale of the
              Mortgaged Property and other Collateral, including without limitation to engage
              and to enter into contracts with any contractor, architect, consultant or other
              professional to complete construction of the Mortgaged Property;
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                   f. Secure any monies as Citizens may be willing to advance for
      preservation and maintenance of the Mortgaged Property or other Collateral,
      including current costs of repairs and general maintenance, security, utilities,
      insurance and other necessary services and all such other reasonable expenses and
      expenditures necessary to carry out the duties of the Receiver; provided, however,
      (1) Receiver has provided Citizens with a budget approved by Citizens, and (2)
      the fees of the Receivers shall not be paid without the prior review and approval
      of the Court, and (3) any expenses of Receiver which are not provided for in the
      budget in excess of $1,000 must also be approved by Citizens.

                    g. Subject to the prior written consent of Citizens, to execute any and
      all documents as may be required to sell and transfer title to the Mortgaged
      Property, or the other Collateral, or such other portion of the Receivership Estate
      for an amount that it and Citizens deem advisable, free and clear of all liens and
      encumbrances, and to distribute the proceeds of the same in accordance with the
      lien priority laws of the Commonwealth of Pennsylvania;

                  h. Keep or maintain insurance on the Mortgaged Property and other
      Collateral (whether by existing insurance coverage or new coverage);

                   i. Deal in all respects with the Mortgaged Property, government
      officials, vendors and all other third parties in connection with the operation of,
      and other matters pertaining to the Mortgaged Property and other Collateral;

                  j. Incur reasonable and necessary expenses and expenditures related
      to the ordinary course of business or cease to carry on all or any part of the
      business being conducted with the Receivership Estate;

                  k. Consummate the Agreement of Sale upon the filing of a motion to
      approve the sale with this Court, notice to all known creditors and the entry of an
      Order by the Court authorizing the sale of the Mortgaged Property pursuant to the
      terms thereof free and clear of liens and other claim;

                   l. Market for sale any or all of the Receivership Estate, including
      advertising and soliciting offers in respect of the Receivership Estate or any part
      or parts thereof and negotiating such terms and conditions of sale as the Receiver
      in his discretion may deem appropriate;

                  m. Exercise all rights and powers of the Defendant with respect to the
      Mortgaged Property and other property of the Receivership Estate, whether in the
      name of Defendant or otherwise, including without limitation, the right to make,
      terminate, cancel, enforce or modify agreements, instruments, contracts, leases or
      licenses and to sue and collect and receive all rents, revenues, profits and income
      derived from the Receivership Estate, and to compromise and settle claims;

                    n. Take an inventory of all equipment, materials and other personal
      property and identify all persons to entities with a security interest or other
      interest, or who claim to have such an interest in said property;


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                  o. Prepare and maintain complete books, records and financial reports
      of the Receivership Estate;

                  p. Execute, sign, issue and endorse documents of whatever nature in
      respect of any portion of the Receivership Estate, including without limitation the
      Mortgaged Property, whether in the Receiver’s name or in the name and on behalf
      of Defendant;

                   q. If approved by Citizens, and subject to a budget approved by
      Citizens, employ such other personnel, consultants, agents, managers, and such
      other persons from time to time and on whatever basis, including a temporary
      basis, to assist the exercise of powers and duties conferred by Order of the Court
      and as may be necessary or appropriate in order to carry out his duties as the
      Receiver and to preserve, maintain and operate, or sell and liquidate the
      Mortgaged Property, the business, or any or all of the Receivership Estate, and to
      compensate such persons at competitive rates, without further Order of the Court,
      at their respective hourly rates, plus reimbursement of all reasonable and
      necessary out-of-pocket expenses;

                   r. Maintain a separate deposit or checking accounts in the Receiver’s
      own name at the Bank or to continue to use any existing bank account of the
      Defendant so long as the Receiver is added as a signatory on any such account
      and the existing signatories are removed from each such account, in all cases with
      any such bank and other deposit accounts, subject to a control agreement in favor
      of Citizens, sufficient to grant to Citizens a perfected security interest in any and
      all such bank and other deposit accounts;

                 s. Pay, settle, or compromise all existing bills and claims which are
      or may be liens against the Mortgaged Property or any other property of the
      Receivership Estate, or as necessary or desirable for the sale or operation of the
      Mortgaged Property), other Collateral or other property of the Receivership
      Estate;

                  t. Subject to the prior written consent of Citizens, to open new
      accounts with, or negotiate, compromise or otherwise resolve the Defendant’s
      existing obligations to utility companies or other service providers to the
      Defendant and, subject to the prior written consent of Citizens, to otherwise enter
      into such agreements, contracts or understandings with such utility companies or
      other service providers or suppliers as are necessary to maintain, preserve and
      protect the Mortgaged Property, the other Collateral or other property of the
      Receivership Estate;

                   u. Receive and endorse checks pertaining to the Receivership Estate
      either in the Receiver’s name or in the name of the Receivership Estate;

                  v. Exercise any shareholder, partnership, limited liability company,
      joint venture or other rights which the Defendant may have with respect to any
      Receivership Estate;


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                          w. Subject to the approval of Citizens, retain a management company
              as the Receiver deems necessary to: (i) assist with the day to day operations of the
              Receivership Estate; (ii) negotiating and implementing any proposed restructure
              of the obligations of the Receivership Estate with the creditors thereof; and (iii)
              assist with the marketing and sale of the business operations and Receivership
              Estate;

                          x. Accept letters of resignation from officers, directors and any other
              employees of the Defendant and terminate any of the Defendant’s employees,
              with or without cause, to the extent they continue to be employed after entry of an
              Order appointing the Receiver;

                          y. Commence, prosecute (in his own name or in the Defendant’s
              name), defend, compromise, adjust, intervene in or become party to such actions
              and proceedings in state or federal courts as may in his opinion be necessary or
              proper for the prosecution, maintenance, preservation, and management of the
              Receivership Estate or Collateral or otherwise the carrying out of the terms of the
              Order appointing the Receiver, or to fulfill his duties;

                          z. Take such other actions reasonably incidental to the foregoing
              powers as the Receiver deems appropriate; and

                         aa.       To apply to this Court for further discretion and for such
              further powers as may be necessary to enable the Receiver to fulfill his duties.

       74.    Citizens submits that the appointment of the Receiver is necessary to protect the

rights and interests of Citizens in the Mortgaged Property and Citizens’ other collateral and is

warranted under the circumstances.


       75.    Moreover, Defendant agreed, as an express term of the Loan Agreement, that

Citizens is entitled to the appointment of a receiver upon Defendant’s default under the Loan

Documents to preserve the Project and protect all rights accruing to Citizens, including without

limitation, to take any actions determined by Citizens to complete the development and

construction of the Improvements.




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       WHEREFORE, Citizens respectfully requests that this Honorable Court enter an Order

substantially in the form attached hereto appointing SREA Property Management LLC as

Receiver to control, operate, manage and sell, the assets of Defendant in order to protect the

rights and interests of Citizens and grant such additional relief to which Citizens may be entitled

or to which this Court deems just and proper.



                                          Respectfully submitted,

                                          STRADLEY RONON STEVENS & YOUNG, LLP

Dated: September 21, 2023                            By:     /s/ Daniel M. Pereira
                                                     Gretchen M. Santamour, Esq.
                                                     Pa. ID No. 41720
                                                     Julie M. Murphy, Esq.
                                                     Pa. ID No. 206265
                                                     Daniel M. Pereira, Esq.
                                                     Pa. ID No. 318674
                                                     2005 Market Street, Suite 2600
                                                     Philadelphia, PA 19103
                                                     Tel: (215) 564-8000
                                                     Fax: (215) 564-8120

                                                     Attorneys for Citizens Bank, N.A.




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                                        VERIFICATION

        I, Joseph Gargiulo, state that I am a Vice President of Citizens Bank, N.A., the plaintiff

herein, and as such I am duly authorized to make this Verification on behalf of Plaintiff. I have

read the statements contained in the foregoing Emergency Motion of Plaintiff, Citizens Bank, N.A.,

Successor by Merger to Investors Bank, for the Appointment of Receiver (the “Petition”) and the

statements contained therein are true and correct to the best of my knowledge, information, and

belief. I have reviewed the exhibits attached to the Petition and such exhibits are true and correct

copies of the originals to the best of my knowledge, information, and belief. I understand that the

statements made herein are subject to the penalties of 18 Pa.C.S. §4904, relating to unsworn

falsification to authorities.



Dated: September 21, 2023                             /s/ Joseph Gargiulo
                                                     By: Joseph Gargiulo
                                                     Title: Vice President
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           Stockton Real Estate Advisors
           1760 Market Street, Suite 900
           Philadelphia, PA 19103
           215.636.4444 · Office
           www.StocktonREA.com
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 Stockton Real Estate Advisors

Stockton Real Estate Advisors (“SREA”) has been consistently recognized as one of Philadelphia’s leading
commercial real estate firms. We provide a wide range of commercial real estate services including corporate
advisory services, tenant and landlord representation, direct investment, and asset management services in
office, industrial, multi-family residential, and mixed-use property sectors. Our clients include real estate
investment trusts, institutional owners, fund managers, non-profit organizations, corporations, and
individuals.

SREA understands the need for each client to be represented in a way that consistently holds the client’s
interests and goals in the highest regard and invests considerable time and energy to gain a keen
understanding of each client’s business vision for the future.



 Stockton Real Estate Advisors REO and Receivership Services

SREA’s team has collectively managed several billion dollars of loan workouts, receiverships, and
turnaround projects, and excels in identifying and executing upon value-add opportunities to
maximize project values.

As a fiduciary to financial institutions, SREA is experienced in all facets of urban and suburban commercial
real estate management, including hospitality, mixed-use, multi-family, office, retail, industrial/distribution,
stalled construction projects, and vacant outparcels/land. Our success is based upon our ability to assemble
and oversee a nimble, highly focused “A” team of market leaders to address specific client needs to develop
both short-term and long-term turnaround strategies, NOI enhancement, market momentum and property
disposition. Our team draws from diverse disciplines, collaborating to help our clients address the operational
and financial obstacles associated with challenged, receivership and REO assets.

Our services include:

     Property Diagnostic:
      • Market Conditions, Property Competition, and Key Economic Drivers
      • Key Tenant Relationships and Pending Lease Renewals
      • Critical Deferred Capex Impacting Property Performance/Value
      • Recommendation of Short-term and Long-Term Value Creation and Marketing Strategies

     Economic Due Diligence:
     • Existing Contract and Lease Review
     • Operating Cost Reduction Analysis
     • Uncollected Tenant Receivables, Unbilled NNN Escalations or Unfunded Tenant Obligations
     • Preparation of Operating and Capital Budgets

     Operations & Facilities Management:
     • Secure Project Premises
     • Ensure Assets are “Camera Ready” and All Systems are Functioning Properly and Efficiently
     • On-site Personnel Hiring and Oversight if/as Necessary
     • Customized Operating Procedures and Handbook
     • Health Threat Best Practices Protocol Implementation


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 Leasing & Marketing:
 • Identification and Implementation of Repositioning and Marketing Strategies
 • Marketing Collateral Preparation
 • Project and Vacancy Clean-Up and Preparation for Leasing
 • Lease Negotiation, Credit Reviews of Proposed Tenants, Offer Submittals for Bank Approval,
    and Approved Lease Execution
 • Lease Administration
 • Interview, Hire, and Oversee Leasing Brokerage Team

 Financial Analysis/Reporting in Accordance with Bank Policies and Procedures

 Construction Management:
 • Contract Bidding and Permitting
 • Construction Coordination and Oversight
 • Draw Request Preparation
 • Timely Project Completion

 Sale Disposition:
 • Analysis of Optimal Sale Strategies Consistent with Client Objectives
 • Interview, Hire, and Oversee Sale Brokerage Team
 • Bidding Process Monitoring and Recommendations
 • Team with Bank Counsel to Negotiate the Purchase & Sale Agreement and all Amendments to
     the Purchase & Sale Agreement as Necessary
 • Coordination of all Sale Due Diligence Obligations
 • Transaction Closing




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Biographies                                                                               Alan Jovinelly


                           As a former developer, banker, and Federal Bank regulator (FDIC and OCC),
                           Alan Jovinelly brings over 37 years of commercial real estate and banking
                           experience to SREA.

                         In total, Mr. Jovinelly has represented several institutional lenders and private
                         developers in more than a Billion Dollars of transactions involving the
                         negotiation and execution of several hundred loan workouts, bankruptcies, REO
                         projects, receiverships, leases, project acquisitions or project sales, for all types
                         of real estate including apartments, golf courses, hotels, industrial, mixed-use,
mobile home parks, office, retail, and vacant land. Mr. Jovinelly loves working with all of the stakeholders
to identify marketing opportunities, cutting operating costs, appealing real estate taxes, finding solutions,
and creating value.

Prior to joining SREA, Mr. Jovinelly was a senior financial officer for Amerimar Enterprises (Controller,
Treasurer, & VP), WP Realty, Inc. (SVP – Capital Transactions & Property Management), Zamias Services,
Inc. (Director of Leasing and Property Management), Capmark Bank ([formerly GMAC] SVP – REO
Portfolio Management), GE Capital Real Estate (Senior Equity and Distressed Loan Workout Portfolio
Management), FDIC (Large Asset Distressed Loan Portfolio Manager), OCC (Senior Credit Specialist –
Loan Examiner), Helios (Special Servicer), Stursberg & Fine (Mortgage Broker), and CBRE (Associate
Director – Financial Consulting Group).

Mr. Jovinelly has been responsible for repositioning projects located throughout the US including 2+
million square feet of office buildings in CBD Philadelphia, including 833 Chestnut Street, 1500 Walnut
Street, Medical Arts & Medical Towers buildings, 260 S. Broad Street, the Packard Building, and the former
Conrail Building.

A sampling of projects completed by Mr. Jovinelly include:

Repositioned Projects:
   • Philadelphia CBD – GE REO – former Conrail Building - 500,000-sf mothballed Class C office
       structure heavily damaged by fire. Identified conversion opportunity to student housing and sold
       concept for $3.5 million. Now serves as a Drexel University student housing facility.

    •    Philadelphia CBD – Packard Building - GE REO – 400,000-sf Class C office structure
         requiring major system and fire code renovations. Identified opportunity to for apartment or
         hotel conversion with Class A first floor restaurant/nightclub and sold concept. Structure has
         been successfully renovated as mixed-use retail, apartment, and office project.

    •    Delaware – GE held a 26-acre land tract as collateral on a defaulted loan. Traffic limitations
         prevented site development as retail and the owner, a major NYC apartment operator and
         developer, and prior GE portfolio managers all deemed the land to have limited value. Working
         with CBRE, Mr. Jovinelly identified the opportunity to develop this land tract for apartments and
         was able to sell this land parcel in full settlement of a $4 million loan.

 Retail:
    • Pigeon Forge, TN – Capmark REO – Class B - 391,000-sf shopping center 35% occupied. Hired
         and managed brokerage and management teams. Negotiated and signed a key 81,000-sf anchor
         tenant to increase occupancy to 60% and enhance value by $5 million.


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     •   Hopewell (VA), Crossroads (VA), Ebensburg (PA) & Clearfield (PA) – GE’s loan
         workouts on 1.3 million sf of strip centers in tertiary markets. Worked closely with the
         borrowers and brokers to negotiate alternative use medical office and school leases to
         reposition these centers.

     •   Bradford (PA) & Yorkridge (MD) – GE Loans on Class B- 70% occupied 140,000-sf strip
         centers. Worked closely with the borrowers to negotiate ground leases with Giant and Kohls
         to expand and reposition to Class B+/A- centers.

 Office:
     • Columbus, OH – Capmark REO – 327,000-sf Class B/C office portfolio. Hired and
         managed brokerage and management teams. To facilitate leasing, we restored the
         buildings mothballed “signature fountain”. Renewed 4 key tenants totaling 103,000 sf,
         and increased occupancy from 72% to 84%. Sold at a sub 10% cap/$9.8 million.

     •   Atlanta – GE REO – 177,000-sf Class A office bldg. Energy conservation and new security
         systems reduced costs by $400,000. Negotiated 145,000-sf lease extension in a soft office market
         that facilitated a $24.5 million sale.

     •   CBD Phila – 833 Chestnut – 805,000-sf Class B office bldg. As a developer, Mr. Jovinelly
         performed acquisition due diligence. Managed bldg. Negotiated and leased 200,000 sf,
         increased occupancy from 79% to 98% and increased value from $27 to $64 million.

     •   Washington DC CBD – GE JV – 174,000-sf Class B office bldg. Worked closely with partner to
         create value by completing a $2.5 million lobby & façade renovation and retail expansion.
         Extensively involved in the negotiation of the project’s leases to increase the project’s occupancy
         from the low 70% occupancy to 95% occupancy.

 Hotel:
    • Baltimore – GE JV – 201-room hotel. Worked closely with JV Partner and to reflag the hotel
        and complete a $5 million renovation program. ADR, occupancy and NOI all substantially
        increased despite a 60% increase in competing room supply.

 Land Development:
    • St. Croix, USVI - Amerimar – 1,000-acre resort community anchored by a Robert Trent
       Jones Jr. Golf Course. Performed acquisition due diligence. Developed strategic land
       planning and marketing for condo construction, single-family lots. Hurricane Hugo
       destroyed Island’s infrastructure and required a 12-month rebuild. Worked with insurance
       companies and FEMA to raise funding for the rebuilding of the project’s condominium
       projects.

Mr. Jovinelly is a licensed Real Estate Salesperson and has been a CPA for over 40 years. By combining
his CPA financial skillset with his experiences as a private developer, institutional lender, and federal
regulator, Mr. Jovinelly understands the financial and operational building blocks to create value and
deliver results.

Mr. Jovinelly can be reached as follows:

610-389-6652― Mobile
E: ajovinelly@stocktonrea.com




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 Biographies                                                                     Guy C. Pierce, IV


                       Guy C. Pierce, IV joined SREA in September of 2015 to head property management
                       services for the company. Mr. Pierce brings to SREA over 27 years of property
                       management experience, specializing in setting the highest and most cost-effective
                       standards for property operations.

                       Prior to joining SREA, Mr. Pierce served as the Director of Property Management for
                       Brandywine Realty Trust in the greater Philadelphia, Pennsylvania area. In this role,
                       Mr. Pierce was responsible for 8,500,000 square feet consisting of 71 suburban office
                       buildings and over 500 tenants. Mr. Pierce was responsible for the operating budgets,
                       quarterly reforecasting and the bidding and negotiating for all vendor contracts. Mr.
                       Pierce oversaw the acquisition and disposition of all regional assets along with
                       managing over 10,000 square feet and above of tenant fit-outs.

Mr. Pierce was awarded the 2015 Most Energy Star Buildings Award, 2012 CEO Persistence Award, and 2007
Excellence in Property Management Award. In 2014, Mr. Pierce was recognized by the US Government with
a Service Member Patriot Award. This award recognizes individual supervisors for efforts in supporting an
employee that was a Service member or married to someone in the Service.

Mr. Pierce can be reached as follows:

215.636.4446 ― Direct
484.645.6663 ― Mobile
E: gpierce@stocktonrea.com




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 Biographies                                                                           Sean S. Myers


                      Sean S. Myers joined Stockton Real Estate Advisors in June of 2014.

                      His responsibilities include advising clients on asset management and transaction
                      assignments as well as originating, underwriting, and managing assets on behalf of
                      SREA and its partners.

                      Before joining SREA, Mr. Myers served as a Director with Grosvenor Fund
                      Management responsible for asset management of a home building fund and a high net-
                      worth client portfolio and leading financings of commercial real estate assets.

                     Prior to his employment with Grosvenor, Mr. Myers consulted with a redevelopment
                     finance institution, managing their REO portfolio. He also worked on the structured
                     finance side of the capital markets where he was an asset manager, assisting in the
management, workout and restructuring of highly levered loans for RAIT Financial Trust, a publicly traded
commercial mortgage REIT.

Prior to RAIT, Mr. Myers served as an underwriter in the CBRE Realty Finance partners group, making joint
venture equity investments in commercial real estate nationally.

Mr. Myers can be reached as follows:

267-507-1592 – Direct
267-800-3690 – Mobile
E: smyers@stocktonrea.com




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 Biographies                                                                Christopher S. Amoroso

                       Christopher S. Amoroso joined SREA as Controller in March 2007. At Stockton,
                       Mr. Amoroso is responsible for the overall financial direction of the company. In
                       addition, his responsibilities include maintaining banking relationships, financial
                       reporting, insurance, tax, and overseeing the company’s 401K plan. Mr. Amoroso
                       has over 25 years of experience in the real estate industry. He is a Certified Public
                       Accountant in the State of New Jersey and a member of the AICPA, NJSCPA and
                       Financial Executives International.

                    Prior to joining SREA, Mr. Amoroso was Corporate Controller and Director of
                    Property Accounting for The Rubenstein Company (TRC), where he was
                    responsible for all corporate and property level financial reporting, audit, and cash
 management. While at TRC, Mr. Amoroso developed policies and procedures for the Property
 Accounting Department and was responsible for training and development of accounting personnel.

Before his tenure with TRC, Mr. Amoroso served as Corporate Controller for The Binswanger Company, an
international brokerage and advisory services firm located in Center City Philadelphia. At Binswanger, Mr.
Amoroso managed budgeting, financial reporting, audit, cash management, and insurance, as well as led various
special projects.

Prior to joining Binswanger, Mr. Amoroso also held positions at The Whitesell Company and Globe Security
Systems.

Mr. Amoroso can be reached as follows:

215-636-4443 ― Direct
856-912-0972 ― Mobile
E: camoroso@stocktonrea.com




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Biographies                                                                       Michael T. Dolan

                       Michael T. Dolan brings over 27 years of commercial real estate experience to
                       SREA, specializing in tenant advisory services and the representation of Center
                       City Philadelphia’s finest office properties.

                       Mr. Dolan has secured a leading position in the Philadelphia market. Since 2018,
                       Mr. Dolan has completed more than 42 transactions totaling over 350,000 square
                       feet, representing a total aggregate rent of approximately $105 million. He has a
                       proven track record of building long-term client relationships and has played an
                       integral role in many high-profile landlord and tenant advisory projects.

                        Mr. Dolan’s clients include: Fowler, Hirtzel, McNulty & Spaulding, Banks Law,
                        Firstrust Federal Reserve, Superior Plus, Langsam, Stevens, Silver & Hollaender,
Walker Nell, Friends Select School, Tempest Interactive Media, and Law Offices of McCann &
Wall. During his real estate career, he has successfully leased many major Center City high-rise office
buildings including 4 Penn Center, 2401 Walnut Street, The Graham Building, 1515 Market Street, The
Public Ledger Building, 701 Market Street, 801 Market Street, 833 Market Street, 901 Market Street,
1818 Market Street, One and Two Logan Square, 2000 Market Street, 10 Penn Center and 1500 Walnut
Street.

Mr. Dolan is a multi-year recipient of the CoStar Power Broker award.


Mr. Dolan can be reached as follows:

215-636-4442 ― Direct
610-529-2079 ― Mobile
E: mdolan@stocktonrea.com




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 Biographies                                                                        James L. Paterno

                      Stockton Real Estate Advisors, LLC (SREA) was founded by James L. Paterno in
                      January of 2005. Prior to establishing SREA, Mr. Paterno was a partner at The
                      Rubenstein Company where he served as President of The Rubenstein Brokerage Group
                      and oversaw leasing and management the company's 6.5 million square foot, class “A”
                      office building portfolio.

                      Before his tenure with The Rubenstein Company, Mr. Paterno served as Managing
                      Director and Regional Leasing Manager at Jones Lang LaSalle (JLL), a multi-national
                      real estate investment and consulting company. While at JLL, Mr. Paterno was
                      responsible for overseeing the company’s growth in Pennsylvania, Delaware,
                      Washington, DC, Virginia, Maryland, and Southern New Jersey. He also supervised
leasing, property management, and asset management of the region’s 14 million square foot portfolio for a vast
array of national and international clients, such as TIAA-CREF, the University of Pennsylvania, General
Electric, Royal Bank of Scotland, and RREEF.

Prior to joining JLL, Mr. Paterno was a partner at The Rubin Organization and served as Senior Vice President
of PREIT-Rubin, the leasing and management affiliate of The Pennsylvania Real Estate Investment Trust and
The Rubin Organization. There, he was responsible for the leasing, property management, and asset
management of nearly 4 million square feet of office space, 600,000 square feet of industrial properties
positioned throughout four (4) states and coordinated all advisory and tenant representation services for the
firm’s corporate clients.

Mr. Paterno can be reached as follows:

215.636.4440 ― Direct
215.840-1930 ― Mobile
E: jpaterno@stocktonrea.com




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                                                Schedule of Fees



Base Management Fee:

Property management and ongoing maintenance (includes daily inspection of property, cleaning and
maintaining the perimeter as needed (e.g., light snow and ice removal, trash, and weed control), utility
management and bill payment, accounts payable functions, and all property-level financial reporting as
specified in the Receivership appointment.

$3,750 per month

The Base Management Fee is exclusive of reimbursable expenses and Asset and Construction Management
Service Fee.

Additional Hours and Overtime:

    •    Extraordinary events necessitating evening (after 5 PM), weekend hours, or Federal holidays, will be
         billed at $85/hour (4-hour minimum).
Building Engineering Accountability:

An Excel spreadsheet summarizing overtime building engineer activity, if any, and time allocation for the
preceding month will be submitted with monthly Base Management Fee invoices.

Reimbursable Expenses (Monthly):

    •    Mileage (reimbursable at current Federal rate) (extraordinary/overtime events only)
    •    Miscellaneous Parts and Supplies (varies MTM)

Building Expenditures:

Costs associated with the operation and maintenance of property shall be paid by Movant. These costs shall be
set forth in an approved Operating Budget or otherwise approved by Movant in writing prior to the expenses
being incurred.

Asset and Construction Management Services Fee:
To determine scope of work, both to stabilize and position the asset to achieve maximum proceeds upon
disposition.

    •    Hourly fee - $250 per individual, billed monthly until scope of work is agreed upon, at which point
         reverts to 5% of hard costs, paid as funds are expended.

Asset Disposition:

    •    3% of total consideration, paid upon closing of the sale of the property


All fees are exclusive of approved third party/vendor costs
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Stradley Ronon Stevens & Young, LLP
BY: Gretchen M. Santamour, Esquire
       Julie M. Murphy, Esquire                                     Attorneys for Plaintiff
       Daniel M. Pereira, Esquire
ID. Nos. 41720, 206265, 318674
2005 Market Street, Suite 2600
Philadelphia, PA 19103
(215) 564-8000

CITIZENS BANK, N.A., successor by               :
merger to Investors Bank,                       :   COURT OF COMMON PLEAS
                                                :   OF PHILADELPHIA COUNTY
                       Plaintiff,               :
                                                :   September Term, 2023
                 v.                             :
                                                :   No. 01940
USRE 257 LLC,                                   :
45 City Avenue                                  :
Unit 3838                                       :
Bala Cynwyd, PA 19004,                          :
                                                :
                      Defendant.                :
                                                :

        MEMORANDUM OF LAW IN SUPPORT OF EMERGENCY PETITION OF
      PLAINTIFF, CITIZENS BANK, N.A., SUCCESSOR BY MERGER TO INVESTORS
                   BANK, FOR THE APPOINTMENT OF RECEIVER

I.       MATTER BEFORE THE COURT

         Before this Court is the Emergency Petition of Plaintiff, Citizens Bank, N.A., successor

by merger to Investors Bank (the “Bank” or “Movant”), for the Appointment of a Receiver (the

“Petition”) to control, manage and sell the assets of Defendant, USRE 257 LLC (the

“Defendant”).

II.      STATEMENT OF QUESTION INVOLVED

         Should this Court appoint a receiver to control, manage, and sell the assets of Defendant

where the parties specifically contracted for the appointment of a receiver in the event of a

default and the law in Pennsylvania allows for the appointment of a receiver to avoid injury,

mismanagement, and dissipation of property?



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        Suggested Answer: Yes. Imminent public safety considerations as well as imminent

harm to the Mortgaged Property can only be prevented by immediate relief in appointing a

receiver to secure the Mortgaged Property, make it safe and stabilize the situation for the benefit

of the public and Movant.

III.    FACTS1

        Movant and Defendant are parties to a Loan Agreement dated as of November 30, 2020

(as amended, modified, supplemented and/or restated from time to time, the “Loan

Agreement”), pursuant to which Movant agreed to make a construction loan to Defendant in the

aggregate principal amount not to exceed $14million (the “Loan”).


        The Loan is secured by, among other things, (a) that certain Open End Mortgage,

Assignment of Leases and Rents and Security Agreement and Fixture Filing by Borrower to

Citizens, dated November 30, 2020 (as amended, modified, supplemented and/or restated from

time to time, the “Mortgage”), granting Citizens a first priority lien and security interest in (i)

that certain real property and improvements thereon known as 257 South 16th Street,

Philadelphia, PA, OPA No. 881031500 (as more fully described in the Mortgage, the

“Mortgaged Property”), and (ii) the fixtures, chattels, accounts, equipment, inventory, contract

rights, general intangibles and other personal property included within the Project (as further

defined in the Mortgage, the “Personal Property Collateral”); (b) that certain Absolute

Assignment of Leases and Rents by Borrower in favor of Citizens, dated November 30, 2020 (as

amended, modified, supplemented and/or restated from time to time, the “Assignment of




1
 The facts set forth in, and exhibits appended to, the accompanying Emergency Petition for
Appointment of a Receiver (the “Petition”) are incorporated herein as set forth at length.
Capitalized terms used herein and not otherwise defined shall have the meaning set forth in the
Petition.
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Rents”); and (c) those certain assignments of contracts, licenses, permits, plans and

specifications.


       Numerous Events of Default exist under the Loan Documents, including the following:


           a. Failure to pay the outstanding indebtedness under the Loan in full on or prior to

                  the Initial Maturity Date (as such term is defined in the Loan Agreement), which

                  constitutes an Event of Default under Section 6.2 of the Loan Agreement;

           b. The existence of a mechanic’s lien on the Mortgaged Property, which has not

                  been vacated or bonded over and stayed within thirty days, which constitutes an

                  Event of Default under Section 6.6. of the Loan Agreement;

           c. The Mortgaged Property is not being operated and maintained in accordance with

                  Legal Requirements, in violation of Section 5.14 of the Loan Agreement;

           d. Borrower’s failure to secure the property materially and adversely affects the

                  operations and value of the Mortgaged Property, which constitutes an Event of

                  Default under Section 6.17 of the Loan Agreement; and

           e. The work on the Mortgaged Property has been suspended and has not proceeded

                  in a timely manner with due diligence, which constitutes an Event of Default

                  under Section 6.20 of the Loan Agreement;

           f. Borrower has failed to pay the Philadelphia City Center District assessments,

                  resulting in liens filed against the Mortgaged Property in violation of Section 5.1

                  and 5.3 of the Loan Agreement;

           g. Borrower allowed the insurance on the Mortgaged Property to lapse, resulting in a

                  requirement that the Bank force-place insurance, which is a breach of, among

                  other things, Section 7 of the Mortgage and an Event of Default pursuant to

                  Section 17 of the Mortgage.
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       As a result of the occurrence of Events of Default, the Bank sent Borrower a notice of

default on May 8, 2023. On June 27, 2023, counsel for the Bank sent an additional notice of

default and demanded payment in full of the outstanding bank indebtedness. To-date, the

outstanding bank indebtedness remains unpaid, and the other enumerated defaults continue to

exist without waiver, cure or remedy or are otherwise uncurable by their nature.

       In addition to the Events of Default, Defendants have abandoned and failed to secure the

Mortgaged Property against trespassers and the elements.        As more fully described in the

Petition, the Mortgaged Property is a seventeen-story building in Center City, Philadelphia.

While the front door of the property is padlocked, a trash shoot on the exterior of the building

leads to an unsecured window eight feet off the ground, which, together with fire escapes and

ladders, allows third parties to access the interior of the property through open windows and

unsecured doors. The building itself is unsafe, with demolition materials littered throughout that

pose a fire hazard. Further, nearly two-thirds of the ground floor was removed, leaving gaping

holes that lead to a ten-foot drop into the basement of the building. The building also contains

copper wiring and other valuable materials that comprise an attractive nuisance to thieves.

       Third parties accessing the property are damaging the interior and exterior of the

Mortgaged Property, and Citizens has been notified that the Mortgaged Property is being used

for such parties to access and to damage other adjacent properties. Neighbors of the Mortgaged

Property have notified the Defendant and the Bank to advise of the lack of security at the

Mortgaged Property and the presence of unauthorized individuals. There is evidence of graffiti,

trash and human waste on the Mortgaged Property confirming such accounts. The managing

members of Defendant have been notified of the dangerous conditions on the Mortgaged

Property and have failed to take any action.




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        The abandoned and unsecured Mortgaged Property poses imminent health and safety

risks to the public and is contributing to the diminution in value of the Mortgaged Property

(Citizens’ collateral), which directly damages Citizens. Defendant’s failure to maintain insurance

on the Mortgage Property is further evidence of Defendant’s abandonment of the property.

Citizens has purchased force-place insurance for the Mortgaged Property

        The Bank has a contractual right to the appointment of a receiver upon the occurrence of

an Event of Default under the Loan Documents. Such right permits Movant to appoint a receiver

to preserve the Project, prevent waste and protect all rights of the Movant. The conditions

present at the Mortgaged Property pose an imminent risk to the public, including adjacent

property owners and uninvited trespassers. Given Defendant’s refusal to take responsibility for

securing the property to ensure that no uninvited parties will be harmed and to ensure

preservation of the Mortgaged Property against the elements and vandals, a receiver is the only

relief sufficient and appropriate in this case.

        Movant’s proposed receiver has substantial experience in the areas of property

management and is an expert in managing and selling real property. The proposed receiver has

extensive experience in and around the City of Philadelphia and is qualified to act as receiver in

this case.

        IV.     ARGUMENT

        The Court should appoint a receiver to control, manage and sell the assets of Defendant

for two reasons. First, the Loan Agreement specifically provides, and the parties expressly

contracted for, the appointment of a receiver as a remedy available to Movant after the

occurrence of an Event of Default for the precise circumstances at hand here. Second, even if

the Loan Documents did not expressly memorialize Defendant’s consent to the appointment of a




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receiver (which they do), this Court has the authority to appoint a receiver under the

circumstances of this case pursuant to the common law of Pennsylvania.

       A.      The Right to Receivership is Clear Under the Loan Agreement

       Under Pennsylvania law, the terms of loan documents are binding on the parties thereto

and the courts should honor such terms and appoint a receiver in the event of a default where the

parties have contracted for that remedy. See Metro. Life Insurance Company vs. Liberty Center

Venture, 650 A.2d 887, 891 (Pa. Super. Ct. 1994); Globe Solvents v. Nouskhaiian, 24 A.2d 687,

690 (Pa. Super. Ct. 1942). It is well established that under Pennsylvania law “parties have the

right to make their own contract, and it is not the function of a court to rewrite it or to give it a

construction in conflict with the accepted and plain meaning of the language used.” See Meeting

House Lane, Ltd. v. Melso, 628 A.2d 854, 857 (Pa. Super. Ct. 1993) (quoting Amoco Oil Co. v.

Snyder, 478 A.2d 795, 798 (Pa. 1984)). Accordingly, courts must give effect to the intent of the

parties where the terms of a contract are clear. First Phila. Realty Corp. v. Albany Say. Bank, 609

F. Supp. 207, 2010 (E.D. Pa. 1985).

       In Metro. Life, a mortgagee sought appointment of a receiver following an event of

default under a mortgage. Metro. Life, 650 A.2d at 888. The Superior Court examined the

mortgage which expressly provided that the mortgagee had the right to appoint a receiver upon

an event of default. See id. at 890-91. The Court explained:

               As we noted above, the terms of a mortgage agreement are binding
               on the parties…We find that the terms of the mortgage clearly
               provide for the appointment of a receiver in the event of a default .
               . . . Accordingly, we find that the lower court did not abuse its
               discretion in enforcing the remedies under the mortgage.

Id. The court in Metro Life affirmed the lower court’s granting of the mortgagee’s motion for the

appointment of a receiver.

       Here, as in Metro Life, Section 7.5 of the Loan Agreement clearly and unambiguously

contains a provision that vests in Movant the right to have a receiver appointed following an
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Event of Default:

               “Receivership. In the Lender’s sole and absolute discretion, apply
               ex parte to a court of competent jurisdiction for the appointment
               of a receiver, without notice and without regard to the solvency of
               Borrower or the adequacy of any collateral, for the purpose of
               preserving the Project, preventing waste, and to protect all rights
               accruing to Lender by virtue of this Agreement or any of the Loan
               Documents, and expressly to do any further acts as Lender may
               determine to be necessary or appropriate to complete the
               development and construction of the Improvements. All expenses
               incurred in connection with the appointment of such receiver, or in
               protecting, preserving, improving or operating the Mortgaged
               Property shall be charged against Borrower and shall be secured by
               the Loan Documents. Borrower and each Guarantor consents to
               the appointment of a receiver in such circumstances and
               covenants and agrees that neither Borrower nor any Guarantor
               will contest, oppose or delay the Lender’s application aforesaid.”


See Loan Agreement, Section 7.5; see, also, Mortgage, Section 18(f). This provision also

memorializes the express consent of Borrower to the appointment of a receiver and its waiver of

any right to contest, oppose the appointment. Id. (emphasis added).


       As such, because Movant and Defendant expressly agreed that Movant shall have the

right to appoint a receiver upon an event of default, Pennsylvania law requires the appointment

by Movant’s requested be granted.

       B.      The Court has Authority to Appoint a Receiver Under the Common Law of
               Pennsylvania.

       Under Pennsylvania law, it is well-established that the courts may appointment a receiver

as an equitable remedy where the necessities of a case demand it, such as in the case of a risk or

waste or dissipation of assets or evidence of fraud or mismanagement. The decision to appoint a

receiver lies within the sound discretion of the court having jurisdiction over the subject matter

and the parties. Abrams v. Uchitel, 806 A.2d 1, 8 (Pa. Super. Ct. 2002). A receiver may be

appointed if “it appears that the appointment is necessary to save the property from injury or

threatened loss or dissipation.” The Northampton National Bank of Easton v. Piscanio, 379 A.2d
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870, 872 (Pa. 1977); Credit Alliance Corp. v. Philadelphia Minit-Man Car Wash, Corp., 301

A.2d. 816, 818-19 (Pa. 1973). A borrower’s mismanagement of collateral alone may be

sufficient to justify the appointment of a receiver. Cowan v. Plate Glass Co., 38 A. 1075, 1078

(Pa. 1898). Further, Pennsylvania courts have held that a receiver “should be imposed where it

is necessary to effectuate equality and justice to all interested.” Bogosian v. Foerderer Tract

Committee, Inc., 399 A.2d 408, 411 (Pa. Super. Ct. 1979) (affirming appointment of receiver to

maximize profits generated by sale of mortgaged property).

       Additionally, the Pennsylvania Rules of Civil Procedure specifically provide for the

appointment of a temporary receiver if required by the circumstances of the case. See Pa.

R.Civ.P. 1533(a). In this case, Movant seeks the appointment of a receiver on an emergency

basis to secure the property and eliminate the danger to the public, adjacent property owners and

the Bank resulting from the dangerous conditions present on the Mortgaged Property and access

to the property by unauthorized individuals. In addition, Movant seeks the appointment of the

receiver to control, manage and sell assets of Defendant to ensure the adequate protection of its

mortgage and security interests.

       Appointment of a receiver is necessary and appropriate to protect, preserve and maintain

the Mortgaged Property. Defendant has abandoned the property, has failed to keep the Mortgage

Property insured and has refused to take steps necessary to secure the property, complete

construction or pay the outstanding Bank Indebtedness in full. Additionally, given that (i)

Defendant’s business is now defunct and there is no serious prospect for the repayment of the

amounts due to Movant outside a sale of the Mortgaged Property and Defendant’s other assets,

(ii) continued deferred maintenance of the Mortgaged Property will exacerbate the existing

conditions that pose a danger to the public and expose the Mortgaged Property to continued

diminution in value, and that (iii) Defendant has failed to pay taxes, utilities and other


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obligations, resulting in liens being placed on the Mortgaged Property that may prime Movant’s

liens, it is apparent that appointment of a Receiver will serve to ensure the protection of the

Mortgaged Property and other Collateral and maximize any revenue generated by the sale of the

Mortgaged Property. Movant therefore asserts that equitable interests in protecting public health

and safety coupled with the need to protect the rights of Movant justify the appointment of a

disinterested and impartial receiver on an emergency basis to take control over the management

of Defendant’s business, and to sell the Mortgaged Property and such other assets of the

Defendant as necessary.

V.     RELIEF REQUESTED

       For the foregoing reasons, Movant respectfully requests that this Court promptly enter an

Order on an emergency basis substantially in the form attached to the Petition appointing SREA

Property Management LLC as a receiver to take immediate steps to secure the Mortgaged

Property, take control over the operation and management of Defendant’s business, and to sell

the Mortgaged Property, the other Collateral and any other assets of the Defendant as are

necessary to protect the rights and interests of Movant.



                                           Respectfully submitted,

                                           STRADLEY RONON STEVENS & YOUNG, LLP

Dated: September 21, 2023                            By:     /s/ Daniel M. Pereira
                                                     Gretchen M. Santamour, Esq.
                                                     Pa. ID No. 41720
                                                     Julie M. Murphy, Esq.
                                                     Pa. ID No. 206265
                                                     Daniel M. Pereira, Esq.
                                                     Pa. ID No. 318674
                                                     2005 Market Street, Suite 2600
                                                     Philadelphia, PA 19103
                                                     Tel: (215) 564-8000
                                                     Fax: (215) 564-8120

                                                     Attorneys for Citizens Bank, N.A.
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